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                            BEFORE THE UNITED STATES
                   JUDICIAL PANEL ON MULTIDISTRICT LITIGATION



 IN RE: FTX CRYPTOCURRENCY                          MDL No. 3076
 EXCHANGE COLLAPSE LITIGATION



                                       PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the Judicial Panel on

Multidistrict Litigation, I hereby certify that, on March 2, 2023, I caused Notice of Appearance of

Laurence D. King to be electronically filed using the Court’s electronic case filing (CM/ECF) system

and served on all counsel or parties in the manners indicated as follows.


Dated: March 2, 2023                         Respectfully submitted,

                                             /s/ Laurence D. King
                                             Laurence D. King
                                             lking@kaplanfox.com
                                             Kathleen A. Herkenhoff
                                             kherkenhoff@kaplanfox.com
                                             Blair E. Reed
                                             breed@kaplanfox.com
                                             KAPLAN FOX & KILSHEIMER LLP
                                             1999 Harrison Street, Suite 1560
                                             Oakland, California 94612
                                             Telephone: (415) 772-4700
                                             Facsimile: (415) 772-4707

                                             Frederic S. Fox
                                             ffox@kaplanfox.com
                                             Joel B. Strauss
                                             jstrauss@kaplanfox.com
                                             Jeffrey P. Campisi
                                             jcampisi@kaplanfox.com
                                             KAPLAN FOX & KILSHEIMER LLP
                                             800 Third Avenue
                                             New York, New York 10022
                                             Telephone: (212) 687-1980
                                             Facsimile: (212) 687-7714

                                             Counsel for Plaintiff Julie Papadakis
       Case CAN/3:23-cv-00024 Document 3-1 Filed 03/02/23 Page 2 of 14




                                  SERVICE LIST

VIA EMAIL                                VIA EMAIL

William M. Audet                         Jennifer Pafiti
Ling Y. Kuang                            jpafiti@pomlaw.com
Kurt D. Kessler                          POMERANTZ LLP
waudet@audetlaw.com                      1100 Glendon Avenue, 15th Floor
lkuang@audetlaw.com                      Los Angeles, California 90024
kkessler@audetlaw.com                    Telephone: (310) 405-7190
AUDET & PARTNERS, LLP
711 Van Ness Avenue, Suite 500           Jeremy A. Lieberman
San Francisco, CA 94102-3275             jalieberman@pomlaw.com
Telephone: (415) 568-2555                J. Alexander Hood II
Facsimile: (415) 568-2556                ahood@pomlaw.com
                                         POMERANTZ LLP
Robert L. Lieff                          600 Third Avenue, 20th Floor
rlieff@lieff.com                         New York, New York 10016
P.O. Drawer A                            Telephone: (212) 661-1100
Rutherford, California 94573             Facsimile: (917) 463-1044

Edward Lehman                            Peretz Bronstein
elehman@lehmanlaw.com                    peretz@bgandg.com
Jacob Blacklock                          Eitan Kimelman
jblacklock@lehmanlaw.com                 eitank@bgandg.com
LEHMAN, LEE & XU LLC                     BRONSTEIN, GEWIRTZ & GROSSMAN,
c/o LEHMAN, LEE & XU                     LLC
Suite 3313, Tower One, Times             60 East 42nd Street, Suite 4600
Square 1 Matheson Street,                New York, New York 10165
Causeway Bay, Hong Kong                  Telephone: (212) 697-6484
Telephone: (852) 3588-2127               Facsimile: (212) 697-7296
Facsimile: (852) 3588-2088
                                         Counsel for Plaintiff Russell Hawkins
Counsel for Plaintiff Elliott Lam         Hawkins v. Bankman-Fried, et al., No. 3:22-
 Lam v. Bankman-Fried, No. 22-cv-7336-    cv-07620-JSC (N.D. Cal.)
 JSC (N.D. Cal.)

VIA EMAIL                                VIA EMAIL

Rafey S. Balabanian                      Marshal J. Hoda
rbalabanian@edelson.com                  marshal@thehodalawfirm.com
Todd Logan                               THE HODA LAW FIRM, PLLC
tlogan@edelson.com                       12333 Sowden Road, Suite B
Yaman Salahi                             Houston, TX 77080
ysalahi@edelson.com                      Tel: (832) 848-0036
P. Solange Hilfinger-Pardo
       Case CAN/3:23-cv-00024 Document 3-1 Filed 03/02/23 Page 3 of 14


shilfingerpardo@edelson.com                Steven C. Vondran
EDELSON PC                                 steve@vondranlegal.com
150 California Street, 18th Floor          THE LAW OFFICES OF STEVEN
San Francisco, California 94111            C. VONDRAN, PC
Tel: 415.212.9300                          One Sansome Street, Suite 3500
Fax: 415.373.9435                          San Francisco, CA 94104
                                           Tel: (877) 276-5084
Counsel for Plaintiff Michael Jessup
 Jessup v. Samuel Bankman-Fried, No. 22-   Counsel for Plaintiff Stephen Pierce
 cv-7666-JSC (N.D. Cal.)                    Pierce v.Bankman-Fried et al., No. 3:22-cv-
                                            07444-JSC (N.D. Cal.)

VIA EMAIL                                  VIA EMAIL

Adam M. Moskowitz                          Adam M. Moskowitz
Joseph M. Kaye                             Joseph M. Kaye
The Moskowitz Law Firm, PLLC               The Moskowitz Law Firm, PLLC
2 Alhambra Plaza, Suite 601                2 Alhambra Plaza, Suite 601
Coral Gables, FL 33134-6036                Coral Gables, FL 33134-6036
305-740-1423                               305-740-1423
adam@moskowitz-law.com                     adam@moskowitz-law.com
joseph@moskowitz-law.com                   joseph@moskowitz-law.com

Jose Manuel Ferrer                         Stephen N. Zack
Mark Migdal and Hayden                     Ursula Ungaro
80 SW 8 Street Suite 1999                  Tyler Evan Ulrich
Miami, FL 33131                            Boies Schiller & Flexner
305-374-0440                               100 SE 2nd Street Suite 2800
jose@markmigdal.com                        Miami, FL 33131-2144
                                           305-539-8400
Stephen N. Zack                            305-539-1307
Ursula Ungaro                              szack@bsfllp.com
Boies Schiller & Flexner                   uungaro@bsfllp.com (Inactive)
100 SE 2nd Street Suite 2800               tulrich@bsfllp.com
Miami, FL 33131-2144
305-539-8400                               Alexander Boies
305-539-1307                               David Boies
szack@bsfllp.com                           Boies Schiller Flexner LLP
uungaro@bsfllp.com (Inactive)              333 Main Street
                                           Armonk, NY 10504
Alexander Boies                            914-749-8200
David Boies                                aboies@bsfllp.com
Boies Schiller Flexner LLP                 dboies@bsfllp.com
333 Main Street
Armonk, NY 10504                           Counsel for Plaintiffs
914-749-8200                                Garrison et al v.Bankman-Fried et al, No.
aboies@bsfllp.com                           1:22-cv-23753-KMM (S.D. Fla.)
       Case CAN/3:23-cv-00024 Document 3-1 Filed 03/02/23 Page 4 of 14


dboies@bsfllp.com

Counsel for Plaintiffs
 Norris et al v. Brady et al, No. 1:23-cv-
 20439-KMM (S.D.Fla.)

VIA EMAIL                                     VIA EMAIL

Adam M. Moskowitz                             Adam E. Polk
Joseph M. Kaye                                Daniel C. Girard
The Moskowitz Law Firm, PLLC                  Girard Sharp LLP
2 Alhambra Plaza, Suite 601                   601 California Street Suite 1400
Coral Gables, FL 33134-6036                   San Francisco, CA 94108
305-740-1423                                  415-981-4800
adam@moskowitz-law.com                        apolk@girardsharp.com
joseph@moskowitz-law.com                      dgirard@girardsharp.com

Stephen N. Zack                               Jason S Hartley
Ursula Ungaro                                 Hartley LLP
Tyler Evan Ulrich                             101 West Broadway Suite 820
Boies Schiller & Flexner                      San Diego, CA 92101
100 SE 2nd Street Suite 2800                  619-400-5822
Miami, FL 33131-2144                          619-400-5832
305-539-8400                                  hartley@hartleyllp.com
305-539-1307
szack@bsfllp.com                              Jason M. Lindner
uungaro@bsfllp.com (Inactive)                 Stueve Siegel Hanson LLP
tulrich@bsfllp.com                            550 West C Street
                                              Suite 610
Alexander Boies                               San Diego, CA 92101
David Boies                                   619-400-5822
Boies Schiller Flexner LLP                    619-400-5832
333 Main Street                               lindner@stuevesiegel.com (Inactive)
Armonk, NY 10504
914-749-8200                                  Makenna Cox
aboies@bsfllp.com                             601 California Street, Suite 1400
dboies@bsfllp.com                             San Francisco, CA 94108
                                              415-981-4800
Counsel for Plaintiffs                        mcox@girardsharp.com
 Podalsky et al v. Bankman-Fried et al, No.
 1:22-cv-23983-KMM (S.D. Fla.)                Counsel for Plaintiffs
                                               Gonzalez v. Silvergate Bank et al, No. 3:22-
                                               cv-01981-BEN-WVG (S.D. Cal.)
VIA EMAIL                                     VIA EMAIL

Caroline S. Emhardt                           Brandon Scott Floch
Jack Fitzgerald                               Jeffrey Eldridge Marcus
       Case CAN/3:23-cv-00024 Document 3-1 Filed 03/02/23 Page 5 of 14


Melanie Rae Persinger                           Michael Anthony Pineiro
Paul K. Joseph                                  Marcus Neiman Rashbaum & Pineiro LLP
Fitzgerald Joseph LLP                           2 South Biscayne Blvd., Suite 2530
Trevor Matthew Flynn                            Miami, FL 33131
2341 Jefferson Street, Suite 200                305-434-4943
San Diego, CA 92110                             bfloch@mnrlawfirm.com
619-215-1741                                    jmarcus@mnrlawfirm.com
caroline@fitzgeraldjoseph.com                   mpineiro@mnrlawfirm.com
jack@fitzgeraldjoseph.com
melanie@fitzgeraldjoseph.com                    Jeffrey Adam Neiman
paul@fitzgeraldjoseph.com                       Neiman & Rashbaum LLP
trevor@fitzgeraldjoseph.com                     100 Southeast Third Avenue, Suite 805
                                                Fort Lauderdale, FL 33394
James M. Davis, IV                              954-462-1200
Casey Gerry LLP                                 954-688-2492
110 Laurel Street                               jneiman@mnrlawfirm.com
San Diego, CA 92101
619-238-1811                                    Andrew B. Brettler
619-544-9232                                    Berk Brettler LLP
jdavis@cglaw.com (Inactive)                     9119 Sunset Blvd.
                                                West Hollywood, CA 90069
Thomas Joseph O'Reardon, II                     310-278-2111
Timothy G. Blood                                abrettler@berkbrettler.com
Blood Hurst & O'Reardon, LLP
501 West Broadway, Suite 1490                   Counsel for Defendant Kevin O'Leary
San Diego, CA 92101                              Norris et al v. Brady et al, No. 1:23-cv-
619-338-1100                                     20439-KMM (S.D. Fla.); Garrison et al
619-338-1101                                     v.Bankman-Fried et al, No. 1:22-cv-23753-
toreardon@bholaw.com                             KMM (S.D. Fla.); Podalsky et al
tblood@bholaw.com                                v.Bankman-Fried et al, No. 1:22-cv-23983-
                                                 KMM (S.D. Fla.)
Counsel for Plaintiffs
 Sepulveda Zuleta et al v. Silvergate Capital
 Corporation et al, No.: 3:22-cv-01901-
 BEN-WVG (S.D.Cal.)

VIA EMAIL                                       VIA EMAIL

Stephanie Anne Casey                            Christopher Stephen Carver
Zachary Andrew Lipshultz                        Akerman LLP
Colson Hicks Eidson                             Three Brickell City Centre Suite 1100
255 Alhambra Circle, PH                         98 Southeast Seventh Street
Coral Gables, FL 33134                          Miami, FL 33131
305-476-7400                                    305-982-5572
305-476-7444                                    305-374-5095
scasey@colson.com                               christopher.carver@akerman.com
zach@colson.com
       Case CAN/3:23-cv-00024 Document 3-1 Filed 03/02/23 Page 6 of 14


                                             Jason Samuel Oletsky
Andrew B. Clubok                             Katherine Ann Johnson
Brittany M.J. Record                         Akerman LLP
Susan E. Engel                               201 East Las Olas Boulevard Ste 1800
Latham & Watkins LLP                         Fort Lauderdale, FL 33301
555 Eleventh Street, NW, Suite 1000          954-759-8909
Washington, DC 20004                         954-463-2224
202-637-2200                                 jason.oletsky@akerman.com
andrew.clubok@lw.com                         Katie.johnson@akerman.com
Brittany.Record@lw.com
Susan.Engel@lw.com                           Counsel for Defendant David Ortiz
                                             Norris et al v. Brady et al, No. 1:23-cv-
Elizabeth A. Greenman                        20439-KMM (S.D. Fla.); Garrison et al v.
Jessica Stebbins Bina                        Bankman-Fried et al, No. 1:22-cv-23753-
Marvin Putnam                                KMM (S.D. Fla.); Podalsky et al v. Bankman-
Latham & Watkins LLP                         Fried et al, No. 1:22-cv-23983-KMM (S.D.
10250 Constellation Blvd., Suite 1100        Fla.)
Los Angeles, CA 90067
424-653-5500
Elizabeth.Greenman@lw.com                    VIA EMAIL
Jessica.stebbinsbina@lw.com
Marvin.Putnam@lw.com                         c/o Stephanie Avakian
                                             Wilmer Hale
Michele D. Johnson                           2100 Pennsylvania Avenue NW Washington
Latham & Watkins LLP                         DC 20037
650 Town Center Drive, 20th Floor            Phone: 202-663-6471
Costa Mesa, CA 92626                         stephanie.avakian@wilmerhale.com
714-540-1235
michele.johnson@lw.com                       VIA U.S. MAIL

Roberto Martinez                             327 Franklin Street
Colson Hicks Eidson                          Newton, MA 02458
255 Alhambra Circle
Penthouse                                    Defendant Caroline Ellison
Coral Gables, FL 33134-2351                   Garrison et al v. Bankman-Fried et al, No.
305-476-7400                                  1:22-cv-23753-KMM (S.D. Fla.); Podalsky
476-7444                                      et al v. Bankman-Fried et al, No. 1:22-cv-
bob@colson.com                                23983-KMM (S.D. Fla.) Papadakis v.
                                              Bankman-Fried et al, No. 3:23-CV-00024-
Counsel for Defendant Thomas Brady            JSC (N.D. Cal.); Jessup v. Bankman-Fried
 Norris et al v. Brady et al, No. 1:23-cv-    et al, No. 3:22-cv-07666-JSC (N.D. Cal.);
 20439-KMM (S.D. Fla.); Garrison et al v.     Hawkins v. Bankman-Fried et al, No. 3:22-
 Bankman-Fried et al, No. 1:22-cv-23753-      cv-07620-JSC (N.D. Cal.), Pierce et al v.
 KMM (S.D. Fla.); Podalsky et al              Bankman-Fried et al, No. 3:22-cv-07444-
 v.Bankman-Fried et al, No. 1:22-cv-23983-    JSC (N.D. Cal.); Lam et al v. Bankman-
 KMM (S.D. Fla.)                              Fried, No. 3:22-cv-07336-JSC
       Case CAN/3:23-cv-00024 Document 3-1 Filed 03/02/23 Page 7 of 14


Counsel for Defendant Gisele Bundchen
 Garrison et al v. Bankman-Fried et al, No.
 1:22-cv-23753-KMM (S.D. Fla.); Podalsky
 et al v. Bankman-Fried et al, No. 1:22-cv-
 23983-KMM (S.D. Fla.)

Counsel for Defendant Lawrence Gene David
 Garrison et al v. Bankman-Fried et al, No.
 1:22-cv-23753-KMM (S.D. Fla.); Podalsky
 et al v. Bankman-Fried et al, No. 1:22-cv-
 23983-KMM (S.D. Fla.)

VIA EMAIL                                       VIA EMAIL

David Alan Rothstein                            Jeremy D. Mishkin
Alexander Manuel Peraza                         Montgomery McCracken Walker & Rhoads
Eshaba Jahir-Sharuz                             LLP
Dimond Kaplan & Rothstein                       1735 Market Street
2665 South Bayshore Drive, PH-2B                Philadelphia, PA 19103-7505
Coconut Grove, FL 33133                         Direct: 215-772-7246
305-374-1920                                    jmishkin@mmwr.com
Fax: 374-1961
Email: drothstein@dkrpa.com                     Counsel for Defendant Samuel Bankman-
Email: aperaza@dkrpa.com                        Fried
Email: eshaba@dkrpa.com                          Garrison et al v. Bankman-Fried et al, No.
                                                 1:22-cv-23753-KMM (S.D. Fla.); Podalsky
Eric A. Fitzgerald                               et al v. Bankman-Fried et al, No. 1:22-cv-
Hillary N. Ladov                                 23983-KMM (S.D. Fla.); Papadakis v.
McAngus Goudelock & Courie LLC                   Bankman-Fried et al, No. 3:23-cv-00024-
2000 Market Street, Suite 780                    JSC (N.D. Cal.); Jessup v. Bankman-Fried
Philadelphia, PA 19103                           et al, No. 3:22-cv-07666-JSC (N.D. Cal.)
(484) 406-4334                                   Hawkins v. Bankman-Fried et al, No. 3:22-
Email: eric.fitzgerald@mgclaw.com                cv-07620-JSC (N.D. Cal.), Pierce et al v.
Email: hillary.ladov@mgclaw.com                  Bankman-Fried et al, No. 3:22-CV-07444-
                                                 JSC (N.D. Cal.)
Counsel for Defendant William Trevor
Lawrence
 Garrison et al v. Bankman-Fried et al, No.
 1:22-cv-23753-KMM (S.D. Fla.); Podalsky
 et al v. Bankman-Fried et al, Case No. 1:22-
 cv-23983-KMM (S.D. Fla.)

VIA EMAIL                                       VIA U.S. MAIL

Gibson, Dunn & Crutcher LLP                     4012 Sahara Ct,
Matthew S. Kahn                                 Carrollton, TX 75010
555 Mission Street
       Case CAN/3:23-cv-00024 Document 3-1 Filed 03/02/23 Page 8 of 14


San Francisco, CA 94105-0921                    Defendant Shaquille O’Neal
Tel: 415.393.8212                                Garrison et al v. Bankman-Fried et al, No.
Fax: 415.374.8466                                1:22-cv-23753-KMM (S.D. Fla.); Podalsky
MKahn@gibsondunn.com                             et al v. Bankman-Fried et al, No. 1:22-cv-
                                                 23983-KMM (S.D. Fla.)
Counsel for Defendant Golden State
Warriors, LLC
 Garrison et al v. Bankman-Fried et al, No.
 1:22-cv-23753-KMM (S.D. Fla.); Podalsky
 et al v. Bankman-Fried et al, No. 1:22-cv-
 23983-KMM (S.D. Fla.); Lam et al v.
 Bankman-Fried, No. 3:22-cv-07336-JSC

VIA U.S. MAIL                                   VIA U.S. MAIL

1 Warriors Way                                  2000 Gene Autry Way
San Francisco, CA 94158                         Anaheim, California, 92806

Defendant Stephen Curry                         Defendant Shohei Ohtani
 Garrison et al v. Bankman-Fried et al, No.      Garrison et al v. Bankman-Fried et al, No.
 1:22-cv-23753-KMM (S.D. Fla.); Podalsky         1:22-cv-23753-KMM (S.D. Fla.); Podalsky
 et al v. Bankman-Fried et al, Case No. 1:22-    et al v. Bankman-Fried et al, No. 1:22-cv-
 cv-23983-KMM (S.D. Fla.)                        23983-KMM (S.D. Fla.)

VIA U.S. MAIL                                   VIA U.S. MAIL

5450 SW 192nd Terrace                           36 Winner Circle,
Southwest Ranches, Florida 33332                Wells ME 04090-5174

Defendant Udonis Haslem                         Consol Defendant, Sam Trabucco
 Garrison et al v. Bankman-Fried et al, No.      Garrison et al v. Bankman-Fried et al, No.
 1:22-cv-23753-KMM (S.D. Fla.); Podalsky         1:22-cv-23753-KMM (S.D. Fla.); Podalsky
 et al v. Bankman-Fried et al, No. 1:22-cv-      et al v. Bankman-Fried et al, No. 1:22-cv-
 23983-KMM (S.D. Fla.)                           23983-KMM (S.D. Fla.); Jessup v.
                                                 Bankman-Fried et al, No. 3:22-cv-07666-
                                                 JSC
                                                 (N.D. Cal.)

VIA U.S. MAIL                                   VIA EMAIL

9621 Arby Dr.                                   c/o Andrew Goldstein
Beverly Hills, California, 90210                Cooley LLP
                                                1299 Pennsylvania Avenue, NW Suite 700
Defendant Naomi Osaka                           Washington, DC 20004-2400
Garrison et al v. Bankman-Fried et al, No.      agoldstein@cooley.com
1:22-cv-23753-KMM (S.D. Fla.); Podalsky et      Telephone: 202 842 7800
       Case CAN/3:23-cv-00024 Document 3-1 Filed 03/02/23 Page 9 of 14


al v. Bankman-Fried et al, No. 1:22-cv-       VIA U.S. MAIL
23983-KMM (S.D. Fla.)
                                              746 Jennifer Way
                                              Milpitas, CA 95035

                                              Defendant Nishad Singh
                                               Garrison et al v. Bankman-Fried et al, No.
                                               1:22-cv-23753-KMM (S.D. Fla.); Podalsky
                                               et al v. Bankman-Fried et al, No. 1:22-cv-
                                               23983-KMM (S.D. Fla.); Papadakis v.
                                               Bankman-Fried et al, No. 3:23-cv-00024-
                                               JSC (N.D. Cal.); Jessup v. Bankman-Fried
                                               et al, No. 3:22-cv-07666-JSC (N.D. Cal.);
                                               Hawkins v. Bankman-Fried et al,No. 3:22-
                                               CV-07620-JSC (N.D. Cal.), Pierce et al v.
                                               Bankman-Fried et al, No. 3:22-cv-07444-
                                               JSC (N.D. Cal.)
VIA EMAIL                                     VIA EMAIL

c/o Alex B. Miller                            Ann Marie Mortimer
Fried Frank                                   Kirk Austin Hornbeck
One New York Plaza                            Hunton Andrews Kurth LLP
New York, New York 10004                      550 South Hope Street, Suite 2000
T: 212.859.8000                               Los Angeles, CA 90071
alex.miller@friedfrank.com                    213-532-2103
                                              amortimer@HuntonAK.com
VIA U.S. MAIL                                 khornbeck@HuntonAK.com

304 Island Lane                               Thomas Richard Waskom
Egg Harbor Township, NJ 08234                 Hunton Andrews Kurth LLP
                                              951 East Byrd St.
Defendant Zixiao Gary Wang                    Richmond, VA 23219
 Garrison et al v. Bankman-Fried et al, No.   804-788-8403
 1:22-cv-23753-KMM (S.D. Fla.); Podalsky      twaskom@HuntonAK.com
 et al v. Bankman-Fried et al, No. 1:22-cv-
 23983-KMM (S.D. Fla.); Papadakis v.          Counsel for Defendant Armanino LLP
 Bankman-Fried et al, No. 3:23-cv-00024-       Papadakis v. Bankman-Fried et al, No.3:23-
 JSC (N.D. Cal.); Jessup v. Bankman-Fried      cv-00024-JSC (N.D. Cal.); Hawkins v.
 et al, No. 3:22-cv-07666-JSC (N.D. Cal.);     Bankman-Fried et al, No. 3:22-cv-07620-
 Hawkins v. Bankman-Fried et al, No. 3:22-     JSC (N.D. Cal.), Pierce et al v. Bankman-
 CV-07620-JSC (N.D. Cal.), Pierce et al v.     Fried et al, No. 3:22-cv-07444-JSC (N.D.
 Bankman-Fried et al, No. 3:22-CV-07444-       Cal.)
 JSC (N.D. Cal.)

VIA EMAIL                                     VIA EMAIL

c/o Telemachus P. Kasulis                     John Michael Landry
      Case CAN/3:23-cv-00024 Document 3-1 Filed 03/02/23 Page 10 of 14


Morvillo Abramowitz Grand Iason & Anello      Madalyn Annabel Macarr
PC                                            Polly Towill
565 Fifth Avenue                              Sheppard Mullin Richter & Hampton
New York, NY 10017                            333 South Hope Street, 43rd Floor
212.880.9555                                  Los Angeles, CA 90071
tkasulis@maglaw.com                           213-620-1780
                                              213-620-1398
VIA U.S. MAIL                                 jlandry@sheppardmullin.com
1133 Bigelow Ave N                            mmacarr@sheppardmullin.com
Seattle, WA 98109-3208                        ptowill@sheppardmullin.com
                                              Counsel for Defendant Silvergate Bank
Consol Defendant Dan Friedberg                  Gonzalez v. Silvergate Bank et al, No. 3:22-
 Garrison et al v. Bankman-Fried et al, No.     cv-01981-BEN-WVG (S.D. Cal.); Husary et
 1:22-cv-23753-KMM (S.D. Fla.); Podalsky        al v. Silvergate Bank et al, No. 3:23-cv-
 et al v. Bankman-Fried et al, No. 1:22-cv-     00038-BEN-WVG (S.D. Cal.)
 23983-KMM (S.D. Fla.)
                                              Counsel for Defendant Silvergate Capital
                                              Corporation
                                                Gonzalez v. Silvergate Bank et al, No.
                                                3:22-cv-01981-BEN-WVG (S.D. Cal.);
                                                Husary et al v. Silvergate Bank et al, No.
                                                3:23-cv-00038-BEN-WVG (S.D. Cal.);
                                                Sepulveda Zuleta et al v. Silvergate
                                                Capital Corporation et al, No.: 3:22-cv-
                                                01901-BEN-WVG (S.D. Cal.):

                                              Counsel for Defendant Alan J. Lane
                                               Gonzalez v. Silvergate Bank et al, No. 3:22-
                                               cv-01981-BEN-WVG (S.D. Cal.); Husary et
                                               al v. Silvergate Bank et al, No. 3:23-cv-
                                               00038-BEN-WVG (S.D. Cal.); Sepulveda
                                               Zuleta et al v. Silvergate Capital
                                               Corporation et al, No.: 3:22-cv-01901-
                                               BEN-WVG (S.D. Cal.):

                                              Counsel for Defendants Christopher M. Lane,
                                              Tyler J. Pearson, and Jason Brenier
                                               Sepulveda Zuleta et al v. Silvergate Capital
                                               Corporation et al, No.: 3:22-cv-01901-
                                               BEN-WVG (S.D. Cal.):

VIA EMAIL                                     VIA THIRD PARTY LEGAL SERVICE

Bruce Roger Braun                             c/o Registered Agent - The Corporation Trust
Joanna Rubin Travalini                        Company
Tommy Hoyt                                    Corporation Trust Center
Sidley Austin LLP                             1209 Orange St.
      Case CAN/3:23-cv-00024 Document 3-1 Filed 03/02/23 Page 11 of 14


One South Dearborn Street                    Wilmington, DE 19801
Chicago, IL 60603
312-853-2077                                 Defendant Sequoia Capital Operations, LLC
bbraun@sidley.com                             O’Keefe v. Sequoia Capital Operations,
jtravalini@sidley.com                         LLC et al, No. 1:23-cv-20700-JEM (S.D.
thoyt@sidley.com                              Fla)

Sarah Alison Hemmendinger
Sidley Austin LLP                            VIA THIRD PARTY LEGAL SERVICE
555 California Street, Suite 2000
San Francisco, CA 94104                      c/o Registered Agent - CT Corporation
415-772-7413                                 System
415-772-7400                                 330 N. Brand Blvd., Ste. 700,
shemmendinger@sidley.com                     Glendale, CA 91203

Counsel for Defendant Prager Metis CPAs      Defendant Silvergate Bank
LLC                                           O’Keefe v. Sequoia Capital Operations,
 Papadakis v. Bankman-Fried et al, No.        LLC et al, No. 1:23-cv-20700-JEM (S.D.
 3:23-cv-00024-JSC (N.D. Cal.); Hawkins v.    Fla)
 Bankman-Fried et al, No. 3:22-cv-07620-
 JSC (N.D. Cal.), Pierce et al v. Bankman-
 Fried et al, No. 3:22-cv-07444-JSC (N.D.    VIA U.S. MAIL
 Cal.)
                                             565 Fifth Avenue
                                             New York, NY 70017

                                             Defendant Signature Bank
                                              O’Keefe v. Sequoia Capital Operations,
                                              LLC et al, No. 1:23-cv-20700-JEM (S.D.
                                              Fla)

VIA EMAIL                                    VIA U.S. MAIL

Amy Michelle Bowers                          103 North First Street
Jorge A. Perez Santiago                      Farmington, WA 99128
Timothy Andrew Kolaya
Stumphauzer Foslid Sloman Ross & Kolaya,     Defendant Farmington State Bank d/b/a
PLLC                                         Moonstone Bank
2 South Biscayne Boulevard, Suite 1600        O’Keefe v. Sequoia Capital Operations,
Miami, FL 33131                               LLC et al, No. 1:23-cv-20700-JEM (S.D.
305-614-1404                                  Fla)
Fax: 305-614-1425
abowers@sfslaw.com
jperezsantiago@sknlaw.com
tkolaya@sknlaw.com

Benjamin D. Reichard
      Case CAN/3:23-cv-00024 Document 3-1 Filed 03/02/23 Page 12 of 14


C. Hogan Paschal                          VIA THIRD PARTY LEGAL SERVICE
James R. Swanson
Kerry James Miller                        c/o Registered Agent - CT Corporation
Monica Bergeron                           System
                                          28 Liberty Street
Fishman Haygood L.L.P.                    New York, NY 10005
201 St. Charles Avenue, 46th Floor
New Orleans, LA 70170                     Defendant Thoma Bravo L.P.
(504) 586-5252                             O’Keefe v. Sequoia Capital Operations,
breichard@fishmanhaygood.com               LLC et al, No. 1:23-cv-20700-JEM (S.D.
hpaschal@fishmanhaygood.com                Fla)
jswanson@fishmanhaygood.com
kmiller@fishmanhaygood.com
mbergeorn@fishmanhaygood.com

Counsel for Plaintiff O’Keefe
 O’Keefe v. Sequoia Capital Operations,
 LLC et al, No. 1:23-cv-20700-JEM (S.D.
 Fla)
VIA U.S. MAIL                             VIA THIRD PARTY LEGAL SERVICE

Deltec House, Lyford Cay                  c/o Registered Agent - Corporation Service
Nassau, Bahamas                           Company
                                          251 Little Falls Drive
Defendant Deltec Bank and Trust Company   Wilmington, DE 19808
Limited
 O’Keefe v. Sequoia Capital Operations,   Defendant Temasek Holdings (Private)
 LLC et al, No. 1:23-cv-20700-JEM (S.D.   Limited
 Fla)                                      O’Keefe v. Sequoia Capital Operations,
                                           LLC et al, No. 1:23-cv-20700-JEM (S.D.
                                           Fla)

VIA U.S. MAIL                             VIA THIRD PARTY LEGAL SERVICE

Deltec Houst, Lyford Cay                  c/o Registered Agent - The Corporation Trust
Nassau, Bahamas                           Company
                                          Corporation Trust Center
Defendant Jean Chalopin                   1209 Orange St.
 O’Keefe v. Sequoia Capital Operations,   Wilmington, DE 19801
 LLC et al, No. 1:23-cv-20700-JEM (S.D.
 Fla)                                     Defendant Ribbit Capital, L.P.
                                           O’Keefe v. Sequoia Capital Operations,
                                           LLC et al, No. 1:23-cv-20700-JEM (S.D.
                                           Fla)
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VIA THIRD PARTY LEGAL SERVICE                  VIA U.S. MAIL

c/o Registered Agent - Cogency Global, Inc.    501 West Ave., Apt. 3803
850 New Burton Road, Suite 201                 Austin, TX 78701
Dover, DE 19904
                                               Defendant Multicoin Capital Management
Defendant Paradigm Operations LP               LLC
 O’Keefe v. Sequoia Capital Operations,         O’Keefe v. Sequoia Capital Operations,
 LLC et al, No. 1:23-cv-20700-JEM (S.D.         LLC et al, No. 1:23-cv-20700-JEM (S.D.
 Fla)                                           Fla)

VIA THIRD PARTY LEGAL SERVICE                  VIA U.S. MAIL

c/o Registered Agent - Corporation Service     c/o Matthew Graham
Company                                        Chaoyang, Beijing, Beijing Shi, 100125,
251 Little Falls Drive                         China
Wilmington, DE 19808
                                               Defendant Sino Global Capital Limited
Defendant Softbank Vision Fund (AIV M2)         O’Keefe v. Sequoia Capital Operations,
L.P.                                            LLC et al, No. 1:23-cv-20700-JEM (S.D.
 O’Keefe v. Sequoia Capital Operations,         Fla)
 LLC et al, No. 1:23-cv-20700-JEM (S.D.
 Fla)

VIA THIRD PARTY LEGAL SERVICE                  VIA U.S. MAIL

c/o Registered Agent - The Corporation Trust   14 Penn Plaza, Suite 1800
Company                                        New York, NY 10121
Corporation Trust Center
1209 Orange St.                            Defendant Prager Metis CPAs, LLC
Wilmington, DE 19801                        O’Keefe v. Sequoia Capital Operations,
                                            LLC et al, No. 1:23-cv-20700-JEM (S.D.
Defendant Altimeter Capital Management, LP  Fla)
 O’Keefe v. Sequoia Capital Operations,
 LLC et al, No. 1:23-cv-20700-JEM (S.D.
 Fla)
      Case CAN/3:23-cv-00024 Document 3-1 Filed 03/02/23 Page 14 of 14


VIA THIRD PARTY LEGAL SERVICE                VIA U.S. MAIL

c/o Registered Agent - Corporation Service   12657 Alcosta Blvd, Suite 500
Company                                      San Ramon, CA 94583
251 Little Falls Drive
Wilmington, DE 19808                         Defendant Armanino, LLP
                                              O’Keefe v. Sequoia Capital Operations,
Defendant Tiger Global Management, LLC        LLC et al, No. 1:23-cv-20700-JEM (S.D.
 O’Keefe v. Sequoia Capital Operations,       Fla)
 LLC et al, No. 1:23-cv-20700-JEM (S.D.
 Fla)

VIA U.S. MAIL                                VIA U.S. MAIL
                                             Attn: SBGI Legal
Silicon Vally Center                         1 Circle Star Way, 4F
801 California Street                        San Carlos, CA 94070
Mountain View, CA 94041
                                             Defendant Softbank Group Corp.
Defendant Fenwick & West LLP                  O’Keefe v. Sequoia Capital Operations,
 O’Keefe v. Sequoia Capital Operations,       LLC et al, No. 1:23-cv-20700-JEM (S.D.
 LLC et al, No. 1:23-cv-20700-JEM (S.D.       Fla)
 Fla)
